MANDATE
                Case 1:15-cv-05871-KPF
                  Case                 Document
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                                                                                           S.D.N.Y.-N.Y.C.
                                                                                                15-cv-5871
                                                                                                   Failla, J.

                             United States Court of Appeals
                                                   FOR THE
                                            SECOND CIRCUIT
                                            _________________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 9th day of January, two thousand seventeen.

     Present:                                                        USDC SDNY
                    Dennis Jacobs,                                   DOCUMENT
                    Robert D. Sack,                                  ELECTRONICALLY FILED
                    Susan L. Carney,                                 DOC #:   _________________
                          Circuit Judges.                            DATE FILED:February 2, 2017
                                                                                 ______________


     Kelly Price,

                                    Plaintiff-Appellant,

                    v.                                                            16-3656 (L),
                                                                                  16-3763 (Con)

     Detective Linda Simmons, Individually, and as an employee of
     the New York City Police Department, et al.,

                                    Defendants-Appellees.


     Appellant, pro se, moves for in forma pauperis status in the above-captioned appeals. This Court
     has determined sua sponte that it lacks jurisdiction over these appeals because final orders have not
     been issued by the district court as contemplated by 28 U.S.C. § 1291. See Coopers & Lybrand v.
     Livesay, 437 U.S. 463, 467 (1978). Upon due consideration, it is hereby ORDERED that the
     appeals are DISMISSED. It is further ORDERED that Appellant’s motions are DENIED as
     moot.
                                                    FOR THE COURT:
                                                    Catherine O’Hagan Wolfe, Clerk




MANDATE ISSUED ON 02/02/2017
